527 F.2d 611
    UNITED STATES of America, Plaintiff-Appellee,v.Jimmy Lee ENG, Defendant-Appellant.In re Jeremiah CASSELMAN.
    No. 75--1444.
    United States Court of Appeals,Ninth Circuit.
    Jan. 15, 1976.
    ORDER ASSESSING PENALTY AND REMOVING COUNSEL
    
      1
      Before CHAMBERS and KOELSCH, Circuit Judges, and JAMESON,* District Judge.
    
    
      2
      Jeremiah Casselman is removed as counsel for appellant.  Another will be appointed in his stead.
    
    
      3
      For failure to prosecute the appeal with due diligence, the following penalty is assessed:
    
    
      4
      Casselman will pay, personally and directly, to the court reporter or reporters the entire cost of the transcript of evidence in this case.  This is to be paid within 14 days of the date of the filing of this order.  A receipt or receipts for payment will be forwarded to the clerk of this court.
    
    
      5
      It is noted that the trial consumed about five days and the penalty will be substantial, but the failure was aggravated.
    
    
      6
      Order modified 530 F.2d 321.
    
    
      
        *
         The Honorable William J. Jameson, Senior United States District Judge for the District of Montana, sitting by designation
      
    
    